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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


 JENNIFER SMITH,

               Plaintiff,
 v.                                         Case No. 6:24-cv-00457-PGB-RMN

 FLORIDA AGRICULTURAL AND
 MECHANICAL UNIVERSITY,
 BOARD OF TRUSTEES,

           Defendant.
 _______________________________/


   DEFENDANT’S RESPONSE TO PLAINTIFF’S TIME SENSITIVE
 OPPOSED MOTION FOR AN EXTENSION OF TIME, AND FOR LEAVE
     TO FILE AN AMENDED COMPLAINT AND ADD PARTIES

       Defendant, Florida Agricultural and Mechanical University Board of Trustees

 (“University”), responds to Plaintiff’s Time Sensitive Opposed Motion for an

 Extension of Time, and for Leave to File an Amended Complaint and Add Parties,

 [Doc. 54] (“Motion to Amend”), and states:

       Plaintiff filed a First Amended Complaint on January 29, 2024, prior to

 removal to this Court. [Doc. 1-1]. A second amendment requires the “opposing

 party’s written consent or the court’s leave.” Fed. R. Civ. P. 15(a). Plaintiff seeks

 to file a Second Amended Complaint, to “name additional parties and assert

 additional claims.” Plaintiff did not include a proposed pleading with the Motion.
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       The Motion to Amend is without proper foundation and must be denied for

 the following reasons. It fails to suggest a date certain for filing the requested

 amendment, fails to advise this Court and counsel of the substance of the proposed

 amended claims, fails to attach a proposed amended pleading, and fails to identify

 the proposed additional defendants and the substance of the claims against them.

       The Motion to Amend overall fails to comply with the recognized practice of

 this district, and the expressed practice for amending pleadings in other Florida

 districts, the State of Florida, and the Eleventh Circuit. The established law is clear

 - the substance of the proposed amendment, or a proposed amended complaint must

 be included with the Motion to Amend. See, Urquilla–Diaz v. Kaplan Univ., 780

 F.3d 1039, 1057 n. 14 (11th Cir. 2015); (“[I]f a plaintiff wants to amend his

 complaint he ‘must either attach a copy of the proposed amendment to the motion

 or set forth the substance thereof.’”); See, also, N.D. Fla. Loc. R. 15.1; S.D. Fla.

 Loc. R. 15.1; and Fla. R. Civ. P. 1.190(a).

       A motion for leave to amend filed pursuant to Rule 15 “should either
       set forth the substance of the proposed amendment or attach a copy of
       the proposed amendment.” Rance v. Winn, 287 F. App'x 840, 841 (11th
       Cir. 2008) (citing Long v. Satz, 181 F.3d 1275, 1279 (11th Cir. 1999)).
       This enables the Court to “assess the viability of the proposed
       amendment.” Farrell v. G.M.A.C., No. 2:07-cv-817-FtM-34DNF,
       2008 WL 1766909, at *1 (M.D. Fla. 2008); See Sure Fill & Seal, Inc.
       v. GFF, Inc., No. 8:08-cv-00882-T-17-TGW, 2009 WL 1751726, at *2
       (M.D. Fla. June 17, 2009). The Court needn't grant leave to amend
       when the proposed amendment would be futile. “The denial of leave


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       to amend for futility is justified when the complaint as amended is still
       subject to dismissal.” [citation omitted].

 Williams v. Orlando Family Physicians, LLC, 2017 WL 11037515, at *1 (M.D. Fla.,
 2017).

       Even in the absence of an express rule in the Middle District, it is unreasonable

 to request this Court or the University to consent to a second amended complaint

 without knowing the substance of it, without a deadline for filing it, without knowing

 the identity of the parties to be joined, and without identification of the new claims.

       The Motion to Amend also neglects the rules in respect to adding parties. To

 join additional parties, Plaintiff must not only seek leave to amend under Rule 15

 but must also establish compliance with Federal 20. “[W]hen requesting leave to

 add parties, the requirements of both Federal Rules of Civil Procedure 15 and 20

 must be satisfied.” Scoma Chiropractic, P.A. v. Dental Equities, LLC, 2016 WL

 11410896, at *1 (M.D. Fla. 2016). Plaintiff does not identify the additional

 defendants, her claims against them, or her right to relief from them:

       (2) Defendants. Persons--as well as a vessel, cargo, or other property
       subject to admiralty process in rem--may be joined in one action as
       defendants if:
       (A) any right to relief is asserted against them jointly, severally, or in
       the alternative with respect to or arising out of the same transaction,
       occurrence, or series of transactions or occurrences; and
       (B) any question of law or fact common to all defendants will arise in
       the action.

 Fed. R. Civ. P. 20(2)(A), (B).


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        Plaintiff has not only failed to establish that her claims arise from the same

 circumstances, she fails to allege any claims, parties, or circumstances justifying

 joinder of new defendants. “Plaintiffs have failed to establish that their claims arise

 from the ‘same series of transactions or occurrences’ as required for permissive

 joinder under Rule 20(a).” Barber v. America's Wholesale Lender, 289 F.R.D. 364,

 368 (M.D. Fla. 2013); see also, Honor v. USA Truck, Inc., 2020 WL 12175835, at

 *4 (M.D. Fla. 2020) (addressing Fed. R. Civ. P. 19 regarding required joinder of

 parties).

        The Motion for Extension of Time further seeks an indefinite extension of

 time in which to file an amended pleading, again, ignoring established practice. See,

 eg., Hart v. Allergan, Inc., 2018 WL 7436513, at *2 (M.D. Fla. 2018); Transatlantic,

 LLC v. Humana, Inc., 2015 WL 12938946, at *1 (M.D. Fla. 2015); Durden v.

 Citicorp Trust Bank, FSB, 2008 WL 11318338, at *2 (M.D. Fla. 2008). Nor does

 the plaintiff propose amendment to the Case Management and Scheduling Order to

 conform to consequences of her Motion. [Doc. 45].

        Plaintiff could have cured many of these defects by submitting a proposed

 Second Amended Complaint with the Motion. In the absence thereof, the University

 was correct in its decision to oppose the Motion to Amend and this Court is obligated

 to deny it.



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       WHEREFORE, Defendant Florida Agricultural and Mechanical University

 Board of Trustees respectfully requests the Court render an Order Denying

 Plaintiff’s Time Sensitive Opposed Motion for An Extension of Time, and for Leave

 to File an Amended Complaint and Add Parties and grant such other relief as it shall

 deem proper.

                                            /s/ Maria A. Santoro
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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY on this 28th of May, 2024, a true and correct copy of

 the foregoing was filed through the CM/ECF system which will serve an electronic

 copy on all parties of record.


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